               Case 2:15-cr-00131-TLN Document 246 Filed 07/12/17 Page 1 of 5


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 6

 7

 8                                IN THE UNITED STATES DISTRICT COURT
 9                                   EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                               CASE NO. 2:15-CR-131-TLN
12                                 Plaintiff,                STIPULATION AND ORDER CONTINUING
                                                             TRIAL CONFIRMATION HEARING DATE AND
13                           v.                              TRIAL DATE, AND EXCLUDING TIME UNDER
                                                             THE SPEEDY TRIAL ACT
14   JOSE MANUEL VALDEZ-TORRES, ET AL.,
                                                             Court: Hon. Troy L. Nunley
15                                 Defendants.
16

17            Whereas, the United States anticipates producing within the next week to defendants as
18   additional discovery a computer disk containing approximately 489 files of Spanish/English transcripts
19   of recorded phone communications related to drug transactions and other criminal acts allegedly
20   performed by the defendants charged in this case;
21            Whereas, each defense counsel desires additional time to review and investigate the information
22   on the computer disk provided by the United States to aid in the preparation of his/her respective client’s
23   defense and otherwise advise the client on the ramifications of accepting or rejecting the plea offer made
24   to the client.
25            Whereas, the task of reviewing the newly produced discovery and explaining the ramifications of
26   settling versus proceeding to trial is made much more difficult for: (1) those defendants who are in
27   custody; and/or (2) those defendants whose primary language is Spanish, namely, Roberto Gomez, Jr.,
28   and Leobardo Martinez-Carranza, as the use of a Spanish/English language interpreter will necessary in

       STIPULATION AND ORDER CONTINUING TRIAL            1
       CONFIRMATION HEARING AND TRIAL, AND EXCLUDING
       TIME
               Case 2:15-cr-00131-TLN Document 246 Filed 07/12/17 Page 2 of 5


 1   order to complete this work;
 2            Whereas, there are six defendants remaining who are scheduled for trial in this case;
 3            Whereas, the criminal conspiratorial acts charged in the Superseding Indictment are alleged to
 4   have taken place in multiple counties, multiple federal judicial districts, and over a timespan of
 5   approximately one and one-half years;
 6            Whereas, this prosecution is based largely on evidence gained through the use of at least four
 7   court-ordered wiretaps and the execution of approximately ten search warrants, and
 8            Whereas, the United States will have produced approximately 7,800 pages of discovery, and
 9   recordings of an estimated 1,000 + phone communications, many of which are in the Spanish language,
10            It is hereby stipulated and agreed by and between plaintiff United States of America, on the one
11   hand, and defendants Roberto Gomez, Jr., Leobardo Martinez-Carranza, Bradley Gene Ward, William
12   James Welch, and Michael William McGibbon, on the other hand, through their respective attorneys,
13   that:
14            (1)    the presently set July 13, 2017, trial confirmation hearing shall be continued to November
15   16, 2017, at 9:30 a.m.;
16            (2)    the presently set August 7, 2017, trial date shall be continued to January 29, 2018;
17            (3)    the Court shall find that this case is unusual and complex due to the number of defendants
18   (six) and the nature of the prosecution (as described above) that it is unreasonable to expect adequate
19   preparation for pretrial proceedings or for the trial itself within the time limits established by 18 U.S.C.
20   § 3161;
21            (4)    the Court shall find that the denial of the requested continuance would deny counsel for
22   each defendant the reasonable time necessary for effective preparation, taking into account the exercise
23   of due diligence;
24            (5)    the Court shall find that the ends of justice served by the granting of such continuance
25   outweigh the best interests of the public and the defendants in a speedy trial;
26            (6)    the Court shall set a status conference date of July 13, 2017, at 9:30 a.m. for defendant
27   Jesus Humberto Zurita Sicairos, who wishes to enter a change of plea;
28            (7)    the Court shall set a status conference date of August 3, 2017, at 9:30 a.m. for any

       STIPULATION AND ORDER CONTINUING TRIAL              2
       CONFIRMATION HEARING AND TRIAL, AND EXCLUDING
       TIME
              Case 2:15-cr-00131-TLN Document 246 Filed 07/12/17 Page 3 of 5


 1   defendant who wishes to enter a change of plea; and
 2           (8)    pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(ii) and (iv) and Local Codes T2 and T4,
 3   the Court shall exclude time from the date of the parties’ stipulation, July 10, 2017, until the proposed
 4   January 29, 2017, trial date from computation of time within which the trial of this matter must be
 5   commenced to allow each defense counsel time to prepare his/her client's defense,.
 6
     DATED: July 10, 2017                                  PHILLIP A. TALBERT
 7                                                         United States Attorney
 8                                                         /s/ Samuel Wong
                                                   By:
 9                                                         SAMUEL WONG
                                                           Assistant United States Attorney
10
     DATED: July 10, 2017
11                                                         /s/ Chris Cosca
                                                   By:
12                                                         CHRIS COSCA
                                                           Attorney for defendant
13                                                         Roberto Gomez
14   DATED: July 10, 2017
15                                                         /s/ Jesse Ortiz
                                                   By:
16                                                         JESSE ORTIZ
                                                           Attorney for defendant
17                                                         Leobardo Martinez-Carranza

18   DATED: July 10, 2017
                                                           /s/ Toni White
19                                                 By:
                                                           TONI WHITE
20                                                         Attorney for defendant
                                                           Bradley Gene Ward
21

22   DATED: July 10, 2017
                                                           /s/ David Grow
23                                                 By:
                                                           DAVID GROW
24                                                         Attorney for defendant
                                                           William James Welch
25

26   DATED: July 10,, 2017
                                                           /s/ Dwight Samuel
27                                                 By:
                                                          DWIGHT SAMUEL
28                                                        Attorney for defendant
                                                          Michael William McGibbon
      STIPULATION AND ORDER CONTINUING TRIAL              3
      CONFIRMATION HEARING AND TRIAL, AND EXCLUDING
      TIME
               Case 2:15-cr-00131-TLN Document 246 Filed 07/12/17 Page 4 of 5


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 2            Defendant Jesus Humberto Zurita Sicairos does not object to a continuance of the trial
 3   confirmation date and trial date as contained in this stipulation and proposed order, and will submit to an
 4   exclusion of time from the date of the parties’ stipulation, July 10, 2017, until the proposed January 29,
 5   2017, trial date, pursuant to 18 U.S.C. § 3161(h)(6) and Local Code R (both excluding a reasonable
 6   period of delay when the defendant is joined for trial with a codefendant as to whom the time for trial
 7   has not run and no motion for severance has been granted).
 8

 9   DATED: July 10,, 2017
                                                                /s/ Jeffrey Staniels
10                                                     By:
                                                                JEFFREY STANIELS
11                                                              Attorney for defendant
                                                                Jesus Humberto Zurita Sicairos
12

13                                      -------------------------------------------------
14

15                                                         ORDER
16            Pursuant to stipulation of respective counsel for the parties, and good cause appearing therefrom,
17   the Court adopts the stipulation of the parties in its entirety as its ORDER.
18            The Court hereby finds that:
19                   (1)       this case is unusual and complex due to the number of defendants (six) and the
20            nature of the prosecution (as described above) that it is unreasonable to expect adequate
21            preparation for pretrial proceedings or for the trial itself within the time limits established by 18
22            U.S.C. § 3161;
23                   (2)       the denial of the requested continuance would deny counsel for each defendant
24            the reasonable time necessary for effective preparation, taking into account the exercise of due
25            diligence; and
26                   (3)       the ends of justice served by the granting of such continuance outweigh the best
27            interests of the public and the defendants in a speedy trial.
28   ///

       STIPULATION AND ORDER CONTINUING TRIAL                  4
       CONFIRMATION HEARING AND TRIAL, AND EXCLUDING
       TIME
              Case 2:15-cr-00131-TLN Document 246 Filed 07/12/17 Page 5 of 5


 1           Therefore, it is hereby ORDERED that:
 2           (1)    the presently set July 13, 2017, trial confirmation hearing shall be continued to November
 3   16, 2017, at 9:30 a.m.;
 4           (2)    the presently set August 7, 2017, trial date shall be continued to January 29, 2018, at 9:00
 5   a.m.;
 6           (3)    the Court shall conduct a status conference on July 13, 2017, at 9:30 a.m. for defendant
 7   Jesus Humberto Zurita Sicairos, who wishes to enter a change of plea;
 8           (4)    the Court shall conduct a status conference on August 3, 2017, at 9:30 a.m. for any
 9   defendant who wishes to enter a change of plea;
10           (5)    pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(ii) and (iv) and Local Codes T2 and T4,
11   time is excluded from the date of the parties’ stipulation, July 10, 2017, until the proposed January 29,
12   2017, trial date from computation of time within which the trial of this matter must be commenced to
13   allow each defense counsel time to prepare his/her client's defense; and
14           (6)    as defendant Jesus Humberto Zurita Sicairos does not object to a continuance of the trial
15   confirmation date and trial date as contained in this stipulation and proposed order, and agrees to submit
16   to an exclusion of time, pursuant to 18 U.S.C. § 3161(h)(6) and Local Code R, time from the date of the
17   parties’ stipulation, July 10, 2017, until the proposed January 29, 2018, trial date is excluded from
18   computation of time within which the trial of this matter must be commenced under 18 U.S.C.
19   § 3161(h)(6) and Local Code R.
20

21   DATED: July 10, 2017
22                                                                Troy L. Nunley
23                                                                United States District Judge

24

25

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      STIPULATION AND ORDER CONTINUING TRIAL              5
      CONFIRMATION HEARING AND TRIAL, AND EXCLUDING
      TIME
